        Case 2:23-cv-01043-NJB-DPC Document 26 Filed 09/22/23 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


 FIRYAL THABATAH,

                 Plaintiff,                           CIVIL ACTION

 v.                                                   NO. 2:23-CV-01043-NJB-DPC

 DENIS RICHARD MCDONOUGH,                             Section: G/2
 SECRETARY, UNITED STATES
 DEPARTMENT OF VETERANS
 AFFAIRS,

                 Defendant.


                                       JOINT STATUS REPORT

         NOW INTO COURT, through undersigned counsel, come Plaintiff Firyal Thabatah and

Defendant United States Department of Veterans Affairs and jointly submit this Status Report as

required in the Court’s Scheduling Order dated August 9, 2023 (Doc. 25).

      1. A Brief Description of the Basis for Jurisdiction:

         This Court has jurisdiction of this case under Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000(e), et seq. and pursuant to 28 U.S. Code § 1331. Jurisdiction is proper because

Plaintiff has exhausted her administrative remedies.

      2. A Listing of any Discovery Done:

         The parties have exchanged initial disclosures. At this time no written discovery has been

exchanged, and no depositions have been taken. The Parties do have extensive discovery from

the administrative portion of this action.

      3. A Listing of any Specialized Discovery that may be Involved in this Matter:

         None.



                                                  1
      Case 2:23-cv-01043-NJB-DPC Document 26 Filed 09/22/23 Page 2 of 3




   4. Whether or not this Matter Should be Fast-Tracked for Settlement:

       The parties have discussed settlement but have not been able to come to an agreement.

Once written discovery is exchanged, and depositions have been taken, the parties will revisit

settlement discussions and will continue working together to see if this matter can be settled.




                                                     Respectfully Submitted,



DUANE A. EVANS                                       /s/ John H. Musser, V
UNITED STATES ATTORNEY                               John H. Musser, V (LA Bar #22545)
/s/ Robert H. Adams                                  Brittney I. Esie 701(#39174)
Robert H. Adams, Esq.                                Tarryn Elizabeth Walsh (#36072)
Assistant United States Attorney                     Poydras Street, Suite 400
LA Bar Roll No. 40166                                New Orleans, LA 70139
650 Poydras Street, Suite 1600                       (504) 523-0400
New Orleans, Louisiana 70130                         (504) 523-5574 (facsimile)
Telephone: (504) 680-3004                            jmusser@mrsnola.com
Facsimile: (504) 680-3174                            twalsh@mrsnola.com
Robert.Adams9@usdoj.gov                              besie@mrsnola.com

ATTORNEYS FOR UNITED STATES
DEPARTMENT OF VETERANS
AFFAIRS
                                                     /s/ Kellee Boulais Kruse
                                                     R. Scott Oswald (DC Bar # 458859)
                                                     Kellee Boulais Kruse (DC Bar # 994450)
                                                     The Employment Law Group, P.C.
                                                     1717 K Street, N.W., Suite 1110
                                                     Washington, D.C. 20006
                                                      (202) 261-2838
                                                      Facsimile: (202) 261-2835
                                                      soswald@employmentlawgroup.com
                                                      kkruse@employmentlawgroup.com

                                                     ATTORNEYS FOR FIRYAL THABATAH




                                                 2
      Case 2:23-cv-01043-NJB-DPC Document 26 Filed 09/22/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 22, 2023, a true and correct copy of the

foregoing was served via ECF upon:

Duane A. Evans, Esq.
United States Attorney
Robert H. Adams, Esq.
Assistant United States Attorney
LA Bar Roll No. 40166
650 Poydras Street, Suite 1600
New Orleans, Louisiana 70130
Telephone: (504) 680-3004
Facsimile: (504) 680-3174
Robert.Adams9@usdoj.gov

                                                /s /R. Scott Oswald
                                                  R. Scott Oswald




                                            3
